     Case 21-05166-grs      Doc 254 Filed 08/04/22 Entered 08/04/22 11:28:30            Desc Main
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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                              THE HONORABLE Gregory R. Schaaf




     IN RE:                                                           CASE NUMBER 21-05166
       HDR Farms Incorporated Liquidating Trust v. Applied Botanics LLC f/k/a XSI USA, LLC et al


                      U.S. BANKRUPTCY JUDGE'S MINUTES OF HEARING

     DATE: 08/04/2022                                                                 TIME: 09:00

     ISSUE:
      253 08/03/2022       Order Setting Status Hearing. Status hearing to be held on 8/4/2022 at
                           09:00 AM at Lexington Courtroom, 2nd Floor. (srw)

     DISPOSITION:
      Other




______________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge
and electronically entered by the Clerk in the official record of this case.



                                                   Signed By:
                                                   Gregory R. Schaaf
                                                   Bankruptcy Judge
                                                   Dated: Thursday, August 4, 2022
                                                   (rah)
